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                             UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION

SYNERGY CAPTIVE STRATEGIES, LLC, a                 Case No.
Nevada Limited Liability Company,

                           Plaintiff,              COMPLAINT FOR DECLARATORY
                                                   JUDGMENT
                v.

RCM SETTLEMENTS INC., a Wyoming
Corporation,

                           Defendant.



         Plaintiff Synergy Captive Strategies, LLC (“Synergy”) files this complaint against RCM

Settlements Inc. (“RCM”), and states:

                                  NATURE OF THE ACTION

         1.     This is an action for declaratory judgement arising from a dispute between

Synergy and RCM as to insurance coverage under a Personal Injury Settlement Contract Default

insurance policy (“Policy”) issued to RCM by its captive insurance company, Sunrise Indemnity,

Inc. (“Sunrise”). RCM tendered a claim for insurance coverage to Synergy as Sunrise’s captive

insurance manager and Synergy informed RCM that the Policy did not provide coverage for the



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claim. RCM contends that coverage exists and has threatened to file suit against Synergy.

Synergy seeks a declaratory judgment confirming that RCM is not entitled to coverage under the

Policy.

                                              PARTIES

          2.    Synergy is a limited liability company organized and existing under the laws of

the State of Nevada with its principal place of business in Clark County, Nevada.

          3.    RCM is a corporation organized and existing under the laws of the State of

Wyoming with its principal place of business in Sheridan County, Wyoming. RCM may be

served through its registered agent for service of process, Registered Agents Inc., at 30 North

Gould Street, Suite R, Sheridan, Wyoming 82801.

                                 JURISDICTION AND VENUE

          4.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1)

because the parties are citizens of different states and the amount in controversy exceeds

$75,000.00 exclusive of interest and costs.

          5.    RCM is subject to the personal jurisdiction of this Court because Paragraph VII.

B. of the Policy states that “[a]ny suit or action brought to enforce this Policy or any rights

granted pursuant to this Policy may be brought only in courts located within the state of Oregon.

Company and Insured hereby agree that such courts will have venue and exclusive subject

matter and personal jurisdiction. . . .” (Emphasis in original)

          6.    Venue is proper in this District pursuant to Paragraph VII. B. of the Policy, and

pursuant to 28 U.S.C. § 1391(b)(3) because RCM is subject to personal jurisdiction in this

District and there is no other district in the State of Oregon in which any defendant resides or

where any of the events or omissions giving rise to the claim occurred.




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                                                        FACTS

I.         THE PERSONAL INJURY SETTLEMENT CONTRACT DEFAULT POLICY

           7.       The Policy was issued by Sunrise, a pure captive insurance company licensed by

the State of Oregon, with an effective date of September 22, 2021 and an expiration date of

September 21, 2022. A true and correct copy of the Policy is attached as Exhibit “A” to this

Complaint and incorporated here by reference.

           8.       Under the heading “DEFINITIONS”, the Policy contains the following pertinent

provisions:

                a. Paragraph I. B. states: “Broker shall mean a broker of a Purchase Agreement

                    who is party to a contract or agreement with Insured pursuant to which a portion

                    of the Buyer’s Interest is payable to Insured.1

                b. Paragraph I. C. states: “Buyers Interest shall have the meaning set forth in the

                    Purchase Agreement.”

                c. Paragraph I. F. states: “Covered Event shall mean the failure of a Broker to

                    deliver to Insured all or a part of the agreed-upon portion of the Buyer’s Interest

                    in connection with a Purchase Agreement due to:

                    1.       The occurrence of an Event of Default; or

                    2.       Fraud and/or conversion by the Broker, the Broker’s attorney, or an

                    escrow agent. A Covered Event shall be deemed to first occur at the time that

                    Insured is aware that an Event of Default has occurred or at the time that

                    Insured discovers the fraud and/or conversion.”



1
    Policy terms shown in bold type in this Complaint are in bold type in the Policy.


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               d. Paragraph I. G. states: “Covered Loss shall mean the amount of the Buyer’s

                  Interest that is due and unpaid to Insured under the Purchase Agreement.

                  Covered Loss shall also include costs sustained by Insured in resolving the

                  litigant’s obligation to pay the Buyer’s Interest to Insured, including but not

                  limited to attorney’s fees.”

               e. Paragraph I. J. states: “Event of Default shall have the meaning set forth in a

                  Purchase Agreement.”

               f. Paragraph I. R. states: “Purchase Agreement shall mean an agreement between a

                  Broker and a litigant, pursuant to which such litigant has transferred an interest in

                  litigation proceeds to Insured in exchange for a purchase price.”

         9.       Under the heading “INSURING AGREEMENT”, Paragraph III. A. of the Policy

contains the following pertinent provisions:

         Subject to the limits, conditions and exclusions contained in this Policy, and to any

         Deductible, Company will reimburse Insured the amount of Covered Loss arising from

         any Covered Event . . . .

II.      RCM’S CLAIM FOR COVERAGE

         10.      RCM submitted a Preliminary Claim Report to Synergy dated April 20, 2022

(“Claim”) along with several Attachments, including Attachment “A” titled “Detailed

Description of Incident” (“Detailed Description”). A true and correct copy of RCM’s Claim and

attachments thereto are attached as Exhibit “B” to this Complaint and incorporated here by

reference. As pertinent here, RCM’s Detailed Description states as follows:

         In 2021, RCM Settlements, LLC [sic.] (“RCM”) started making loans to Beasley
         Law Firm, Matthew Beasley, J & J Consulting, J & J Purchasing, and Jeffery Judd



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         (“the Beasley Group”) as part of a personal injury settlement advancement
         investment program (“the Beasley Program”). RCM has been adding funds to the
         Beasley Program for 6 months.

         The Beasley Program was an investment program that used investments from RCM
         to make advances to personal injury clients on settlements of their cases. Settlement
         advances to clients were made in $100,000.00 increments. A number of times,
         RCM invested in multiple settlements with a single payment.

         . . .

         As mentioned above, on March 10, 2022, RCM was notified that Matthew Beasley,
         the individual, had been arrested and confessed to orchestrating a Ponzi scheme in
         the amount of at least $300,000,000.00, which included the money RCM invested
         in the Beasley Program. See attached news articles. Since before that date, no
         interest payments had been received, and requests made to Jeffery Judd, the
         individual, about unpaid payments went unanswered.

         Existing news articles (Attachments B1-B4) establish that Matthew Beasley, the
         individual, knowingly and falsely, made misrepresentations of a material fact to
         RCM and other investors, i.e., that Matthew Beasley, the individual, represented
         that advanced payments were made to individuals secured by their personal injury
         settlements. In fact, NO SUCH PAYMENTS WERE EVER MADE NOR DID
         ANY CLIENTS EXIST! The Beasley Program was simply using new investment
         funds to pay old investors. RCM relied to their detriment upon Beasley’s
         misrepresentations. In the newspaper articles, Matthew Beasley, the individual,
         NUMEROUS TIMES CONFESSED that he had orchestrated the Ponzi scheme.
         Hundreds of people apparently have lost hundreds of millions of dollars.

III.     SYNERGY’S RESPONSE TO RCM’S CLAIM

         11.     In a letter dated April 27, 2023, Synergy through counsel informed RCM that the

Policy did not provide coverage for the Claim (“Response Letter”). A true and correct copy of

the Response Letter is attached as Exhibit “C” to this Complaint and incorporated here by

reference.

         12.     As alleged above and as explained in the Response Letter, the Policy’s Insuring

Agreement provides in Paragraph III. A. that “Company will reimburse Insured the amount of

Covered Loss arising from any Covered Event . . . .” As pertinent here, “Covered Loss” is

defined in Paragraph I. F. of the Policy to mean “the amount of the Buyer’s Interest that is due



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and unpaid to Insured under the Purchase Agreement.” “Purchase Agreement” is defined in

Paragraph I. R. of the Policy to mean “an agreement between a Broker and a litigant, pursuant

to which such litigant has transferred an interest in litigation proceeds to Insured in exchange

for a purchase price.” (Italics added)

         13.   As RCM put it in its Detailed Description, since the Beasley Program was a Ponzi

scheme, “NO . . . PAYMENTS WERE EVER MADE NOR DID ANY CLIENTS EXIST!” As a

result, there were not -- and never could have been -- any “Purchase Agreements” as the term is

defined in the Policy because there were never any actual litigants or litigations. The use of the

past tense “has transferred” in the Policy’s definition of “Purchase Agreement” confirms that an

agreement pursuant to which an actual past transfer of an interest in litigation proceeds was

required in order to meet the definition. Absent any real litigation or clients, there could be no

“transfer of an interest in litigation proceeds” and therefore no “Purchase Agreement” under the

terms of the Policy.

         14.   Further, since the term “Covered Loss” in the Insuring Agreement is defined in

Paragraph I. G. of the Policy to mean “the amount of the Buyer’s Interest that is due and unpaid

to Insured under the Purchase Agreement . . . ,” there can be no Covered Loss because there is

no Purchase Agreement as the term is defined in the Policy and therefore no amount due and

unpaid under it.

         15.   Moreover, the term “Buyer’s Interest” is defined in Paragraph I. C. of the Policy

to “have the meaning set forth in the Purchase Agreement.” As there were never any Purchase

Agreements as the term is defined in the Policy, there could be no “Buyer’s Interest” in them and

therefore no “Covered Loss” as the term is defined in the Policy.




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         16.     The absence of a “Purchase Agreement” as the term is defined in the Policy also

establishes that there was no “Covered Event” as is required for coverage under the Insuring

Agreement. As pertinent here, “Covered Event” is defined to mean “the failure of a Broker to

deliver to Insured all or a part of the agreed-upon portion of the Buyer’s Interest in connection

with a Purchase Agreement . . . .” Again, because there were no Purchase Agreements as the

term is defined in the Policy and therefore no “Buyer’s Interest” in them, there could be no

failure to deliver an agreed upon portion of the Buyer’s Interest and therefore no “Covered

Event” as the term is defined in the Policy.

         17.     As summarized in the Response Letter, the admitted nonexistence of any actual

litigants, litigations, loans, or transfers of ownership establishes that there was never any

“Purchase Agreement,” “Covered Loss,” or “Covered Event” as the terms are defined in the

Policy and therefore no possibility of coverage under the Insuring Agreement.2

IV.      RCM’S DEMAND LETTER

         18.     In a letter dated March 27, 2024, RCM through counsel disputed Synergy’s

positions in the Response Letter and threatened to pursue litigation (“Demand Letter”). A true

and correct copy of the Demand Letter is attached as Exhibit “D” to this Complaint and

incorporated here by reference.

         19.     In the Demand Letter, RCM’s counsel contended that RCM was entitled to

coverage under the Policy because RCM’s principals "unequivocally believed that the Purchase

Agreements they received were legitimate.” (Emphasis in original) However, RCM’s

principals’ subjective beliefs are irrelevant to the coverage determination and any document


2
 The Response Letter also raises numerous exclusions and limitations to coverage contained in the Policy that could
apply if coverage existed under the Insuring Agreement. Synergy does not address exclusions and limitations in this
Complaint as there is no existing controversy concerning them, but reserves the right to assert these provisions
should an actual controversy arise.


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RCM received could not constitute a “Purchase Agreement” as the term is defined in the Policy

for the reasons discussed above.3

         20.     The Demand Letter goes on to state: “Just as importantly, Synergy’s underwriters

and representatives believed the Purchase Agreements to be legitimate because had they believed

or suspected otherwise, they presumably would not have permitted insurance coverage to issue

or to continue.” But under the plain and unambiguous terms of the Policy – titled “Personal

Injury Settlement Contract Default Policy” – coverage did exist for defaults of personal injury

settlement contracts so long as the provisions of the Policy were satisfied. Thus, even if

Synergy’s representatives’ subjective beliefs were relevant to the existence of coverage, any

subjective belief that actual personal injury settlement contracts existed would be entirely

consistent with issuance of the Policy which insured against defaults by parties to such contracts.

         21.     The Demand Letter further states that “the mere fact of Beasley’s Ponzi scheme

having resulted in a lack of substance underlying the Purchase Agreements does not, in and of

itself, invalidate or render the Purchase Agreements unenforceable as to [RCM].” However, in

order to satisfy the definition of “Purchase Agreement,” there had to be “an agreement between a

Broker and a litigant.” Thus, the admitted “lack of substance underlying the Purchase

Agreements” – specifically the absence of any litigant or litigation – defeats RCM’s claim for

coverage.




3
  RCM’s counsel repeatedly uses the capitalized term “Settlement Agreement” in RCM’s Demand Letter to describe
fraudulent personal injury settlement contracts RCM received in connection with the Beasley Program. This is
misleading. The term “Settlement Agreement” as material to the Policy was clearly defined in Paragraph I. R. of the
Definitions Section of the Policy and the fraudulent documents titled “Settlement Agreement” RCM received do not
meet that definition. Further, documents concerning the Beasley Program used multiple terms to identify the
personal injury settlement contracts that ostensibly would be entered into with litigants. For example, the Beasley
Program’s Private Placement Memorandum RCM submitted with its Claim identifies the contracts with litigants as
“Purchase Contracts” (see, e.g., pp. 6, 7, and the cover page to PPM Exhibit C) and “Insurance Settlement
Agreements” (see, e.g., pp. 1, 6) as well as “Settlement Agreements.”


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         22.    Finally, the Demand Letter contends that “[t]he fact that Synergy now, in

hindsight, appears to be asserting that there was simply never any insurable interest is wildly

inconsistent with Synergy’s issuance of the policies in the first place, substantial premiums that

[RCM] paid out of pocket for the policies, and Synergy’s failure to raise even a single, solitary

question or objection about anything at any point in time prior to the collapse of the Ponzi

scheme.” But as shown above, the risk (not insurable interest) insured by the Personal Injury

Settlement Contract Default Policy was a default by a party to a personal injury settlement

contract, not the risk that no such contracts ever existed in the first place. The risk and exposure

of a default by the parties to particular personal injury settlement contracts are far different from

the risk and exposure associated with the entire Beasly Program being a fraud. As with any

captive insurance policy, RCM had the ability to negotiate the terms of the Policy. Had it

wanted the Policy to cover the nonexistence of the underlying personal injury settlement

contracts, it could have negotiated to include that as a covered risk under the Policy.

                                       CLAIM FOR RELIEF

                                       (Declaratory Judgment)

         23.    Synergy realleges and incorporates by reference the allegations in each paragraph

above, as if set forth fully herein.

         24.    This is an action for declaratory judgment pursuant to 28 U.S.C. §§ 2201 and

2202, the Federal Declaratory Judgment Act.

         25.    An actual and justiciable controversy has arisen between Synergy and RCM as to

RCM’s right to coverage under the Policy.

         26.    RCM alleges and contends that it is entitled to insurance coverage under the

Policy for the loss alleged.




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          27.    Synergy contends that there is no coverage for RCM’s loss under the Policy.

          28.    Synergy seeks a declaratory judgment declaring that RCM is not entitled to

coverage under the Policy.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays for the following relief:

          (a)    For a judgment declaring that RCM is not entitled to coverage under the Policy;

          (b)    For costs including attorney’s fees incurred pursuant to applicable law;

          (c)    For such other relief as the Court may deem just, equitable, and proper.

DATED: April 29, 2024

                                               ENENSTEIN PHAM GLASS & RABBAT, LLP


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